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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                        CASE NO. 1:20-cr-183
v.
                                                                        HON. ROBERT J. JONKER
ADAM DEAN FOX,
BARRY GORDON CROFT, JR.
KALEB JAMES FRANKS,
DANIEL JOSEPH HARRIS and
BRANDON MICHAEL-RAY CASERTA,

                  Defendants.
                                                   /


                                        ORDER SETTING DATES

1.       Defense motions in limine regarding admission of out-of-court statements of
         defendants (or others) from proposed transcriptions of recorded conversations shall
         be filed by December 17, 2021.

         The government shall file responses to the motions in limine by January 7, 2022.

         A hearing on pending motions in limine is scheduled for January 18, 2022 at
         10:00 a.m.

2.       All other motions shall be filed by January 14, 2022.

3.       Expert disclosure deadline for all parties’ testifying experts is February 4, 2022.

4.       Provisional status conferences are scheduled for October 28, 2021 at 10:00 a.m. and
         November 23, 2021 at 10:00 a.m.

         The Court anticipates that logistical matters, not substantive issues, will be discussed
         at the status conferences. Accordingly, it will not be necessary for the defendants to
         be present.1 The Court (through its Case Manager) will consult with counsel ahead
         of each status conference to make a final determination on whether the conference


         1
          See United States v. Ushery, 785 F.3d 210, 222-23 (6th Cir. 2015). See also United States v. McChesney, 871
F.3d 801, 808-09 (9th Cir. 2017); United States v. Astacio-Espino, 748 F. Supp. 2d 131 (D. Puerto Rico 2010).
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         would be appropriate and helpful given case developments at that time, and if so,
         whether defendants should be present in addition to counsel.

5.       The final pretrial conference is scheduled for February 18, 2022 at 10:00 a.m. Jury
         trial is scheduled for March 8, 2022 at 8:30 a.m.

         IT IS SO ORDERED.




Date:     September 20, 2021                  /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
